
By
the Court.*
Whenever an application is made to the Court, to quash a bill of indictment, it should be founded on such an objection as is obvious and palpable ; for if the question be susceptible of doubt, whether the exception is fatal or not, the party will be put to plead or demur. The act of Assembly contains expressions of very comprehensive import, and certainly takes away the force of *219many exceptions to an indictment in the County Court, which would still prevail, if made in the Superior Court, to an indictment originally, found there. It presents to the County Court this question, do you see enough upon the face of the indictment to induce you to give judgment ? If this appears by the plain deductions of common sense, though the terms of art be omitted, either in the description of the offence, the mode, the place, or the time of its commission ; the indictment must be sustained. It is possible therefore, that enough appears in the caption of this indictment, to warrant an intendment, that it was found at Franklin County Court ; for to what else, can the word “sessions ” be referred ? But upon this, we give no positive opinion : for it being discretionary with the court, whether they will grant this motion or not, we do not think any argument in its support, can be drawn either from the crime itself, or the nature of the objection.
Motion over-ruled

 Hall, J. gave, no opinion, having been of counsel in the cause.

